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                         Exhibit A

                      Proposed Order
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re
                                                        Chapter 11

 Lordstown Motors Corp., et al.,1                       Case No. 23-10831 (MFW)

                                                        (Jointly Administered)
                                       Debtors.
                                                        Docket Nos. Docket Nos. 961, 974, 976, 977, 981-987
                                                        & ___



             SECOND OMNIBUS ORDER AWARDING INTERIM ALLOWANCE OF
                   COMPENSATION FOR SERVICES RENDERED AND
                       FOR REIMBURSEMENT OF EXPENSES

         Upon consideration of the interim applications (each an “Interim Application” and,

collectively, the “Interim Applications”) of those professionals referenced on Exhibit 1 annexed

hereto (each a “Professional” and, collectively the “Professionals”) for entry of an order (this

“Order”), for allowance of compensation for services rendered and reimbursement of actual and

necessary expenses that the Professionals incurred, all as more fully set forth in the Interim

Applications; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012, and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found it may enter a final

order consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Interim Applications in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Interim


         1
                  The Debtors and the last four digits of their respective taxpayer identification numbers are:
Lordstown Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The
Debtors’ service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Applications is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Professionals’ notice of the Interim Applications and

opportunity for a hearing on the Interim Applications were appropriate and no other notice need

be provided; and this Court having reviewed the Interim Applications and having heard the

statements in support of the relief requested therein at a hearing before this Court, if any (the

“Hearing”); and this Court having determined that the requested compensation and expense

reimbursement set forth in the Interim Applications and at the Hearing, if any, is reasonable; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT

        1.     The Interim Applications are granted on a final basis in the amounts set forth on

Exhibit 1 annexed hereto for services rendered and reimbursement of actual and necessary

expenses incurred during the period from October 1, 2023 through and including December 31,

2023.

        2.     Notice of each Interim Application, as provided therein, shall be deemed good and

sufficient notice of such Interim Application and the requirements of Bankruptcy Rule 6004(a)

and the Local Rules are satisfied by such notice.

        3.     The Debtors are authorized and directed to make payment to each of the

Professionals on account of any outstanding balances on the fees and expenses approved herein,

as set forth on Exhibit 1

        4.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        5.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Interim Applications.


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       6.      This Order shall be deemed a separate order with respect to each of the Interim

Applications. Any stay of this Order pending appeal with respect to any one Professional shall

only apply to the particular Professional that is the subject of such appeal, and shall not operate to

stat the applicability and/or finality of this Order with respect to any other Professional.

       7.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




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                         Exhibit 1

           Schedule of Professional Compensation
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                                                         Professional Compensation for the period from
                                                    October 1, 2023,through and including December 31, 2023

                                         Compensation
                                                                                      Expenses            Agreed              Agreed           Interim Fees         Interim Expenses
          APPLICANT                          Period      Fees Requested
                                                                                      Requested          Reductions         Reductions          Approved                Approved
                                        (Interim Period)
                                                                                                           (Fees)           (Expenses)
          KPMG LLP                           10/1/23 –            $87,815.20              $0.00             $0.00              $0.00             $87,815.20                 $0.00
 (Audit Services Provider to the             12/31/23
            Debtors)
        [Docket No. 961]
     Silverman Consulting                    10/1/23 –            $590,997.00          $29,630.69             $0.00              $0.00          $590,997.00              $29,630.69
  (Restructuring Advisors to the             12/31/23
            Debtors)
        [Docket No. 974]
 Womble Bond Dickinson (US)                  10/1/23 –            $238,424.50            $76.30               $0.00              $0.00          $238,424.50                $76.30
               LLP                           12/31/23
   (Co-Counsel to the Debtors)
        [Docket No. 976]
       Huron Consulting                       10/1/23-            $404,725.00            $67.20               $0.00              $0.00          $404,725.00                $67.20
          Group., Inc.                        12/31/23
(Financial Advisor to the Official
    Committee of Unsecured
            Creditors)
        [Docket No. 977]
      Brown Rudnick LLP                       9/7/23 –          $1,906,541.001         $15,858.79             $0.00              $0.00         $1,906,541.00             $15,858.79
     (Counsel to the Official                 12/31/23
  Committee of Equity Security
            Holders)
        [Docket No. 981]




      1    Reflects Brown Rudnick’s voluntary reduction of $1,531.00 from the First Monthly Fee Application of Brown Rudnick LLP, as Counsel for the Official Committee of Equity
           Security Holders of Lordstown Motors Corp., et al., for Allowance of Interim Compensation and for Reimbursement of Disbursements Incurred for the Period from September
           7, 2023 through September 30, 2023. See Docket No. 749.
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                                      Compensation
                                                                       Expenses       Agreed         Agreed     Interim Fees    Interim Expenses
        APPLICANT                         Period      Fees Requested
                                                                       Requested     Reductions    Reductions    Approved           Approved
                                     (Interim Period)
                                                                                       (Fees)      (Expenses)
       Morris James LLP                  9/7/23 –       $271,950.50     $4,454.51       $0.00         $0.00      $271,950.50        $4,454.51
(Delaware Counsel to the Official        12/31/23
  Committee of Equity Security
             Holders)
        [Docket No. 982]
 Kurtzman Carson Consultants             10/1/23 –      $31,384.14       $0.00          $0.00         $0.00      $31,384.14           $0.00
  (Administrative Advisor to the         12/31/23
             Debtors)
        [Docket No. 983]
   M3 Advisory Partners, L.P.             9/7/23-       $775,833.50     $8,705.24       $0.00         $0.00      $775,833.50        $8,705.24
(Financial Advisor to the Official       12/31/23
  Committee of Equity Security
             Holders)
        [Docket No. 984]
       Baker & Hostetler                 10/1/23 –     $264,801.65     $3,018.81        $0.00         $0.00     $264,801.65         $3,018.81
(Special Litigation Counsel to the       12/31/23
             Debtors)
        [Docket No. 985]
         Jefferies LLC                   10/1/23 –    $2,200,000.00    $22,686.07       $0.00         $0.00     $2,200,000.00      $22,686.07
    (Investment Banker to the            12/31/23
             Debtors)
        [Docket No. 986]
       White & Case LLP                  10/1/23 –    $3,336,354.00    $8,408.06        $0.00         $0.00     $3,336,354.00       $8,408.06
     (Counsel to the Debtors)            12/31/23
        [Docket No. 987]
                      TOTALS                           $8,114,470.29   $92,905.67       $0.00         $0.00     $8,114,470.29      $92,905.67




                                                                          2

      WBD (US) 4893-5386-6409v2
